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                                                                                                                  RIGHARO   «AS£l
                                                                                                                   tMM or COOftT

AO 93 (Rev, 11/13) Search and Seizure Warrant                                                                   ?0i9GCT-3 ?n\2-k3

                                           United States District Court                                            s^fiCRH
                                                                            for the                               Ea-vC Giv. cgujngi^
                                                               Southern District of Ohio


                  In the Matter of the Search of
              (Briefly describe the property to be searched
               or identify the person by name and address)

        1514 Worthington Row Drive, Columbus, OH 43235
                                                                                              . El-rylv niofp
                                                                                       Case No,




                                                  SEARCH AND SEIZURE WARRANT

To;       Any authorized law enforcement ofTicer
         An application by a federal lawenforcement officeror an attorney for the government requests the search
of the following person or property located in the       _^outhern           District of                  Ohio
(identify the person or describe the property to be searched and give its location):



      SEE ATTACHMENT A




          1find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify theperson or describe thepropertyto be seized):


      SEE ATTACHMENT B




          YOU ARE COMMANDED to execute thiswarrant onor before
      ^ in the daytime 6:00 a.m. to 10:00 p.m.
                                                                                              .OCtTjM
                                                                                               w UC T (pC^I            | (mi to exceed \4days)
                                                              • atany time in the day ornight because good cause has been established.
        Unless delayed notice is authorized below, you mustgive a copy of the warrant and a receipt for the propertytaken to the
person from whom,or from whose premises, the property was taken,or leave the copy and receipt at the place where the
property was taken.
         The officer executingthis warrant, or an officer presentduringthe execution of the warrant,must preparean inventoiy
as required by law and promptly return this warrant and inventory to      Kimberly A. Jolson, or any U.S. Magistrate Judge
                                                                                                         n^i^^i^r^Judge)
      Si Pursuant to 18 U.S.C. §3103a(b), I find that immediate notification may                                                 18 U.S.C.
§2705 (except for delay oftrial), and authorize the officer executing this warrant^^^                    jffi^OThepe^h/mo, or whose
property, will be searched or seized (check the appropriate box)                                  'i
      Sl for 30 days (not to exceed 30)            • until, the facts justifying, the later       i

Date and time issued:



City and state:              Columbus. Ohio                                                                                       J udge
                                                                                                       'Prial^flame-'dhd title
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                                                                Return




Inventory made in the presence of:
                                                   E)    C 4% ^'C ^
Inventory o




                                                              Certification



          I declare under penalty of perjury that this inventory is correctand was returned along with the original warrantto the
designated judge.




                                                                                    Executing officer's signature


                                                                                       Printed name and title
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                                    ATTACHMENT A



         DESCRIPTION OF PREMISES AND PROPERTY TO BE SEARCHED



The property to be searched is 1514 Worthington Row Drive Columbus, OH 43235 along with
the curtilage of the property, any detached outbuildings, detached garages, or vehicles on the
property. The premises is described as one unit of a two story multi-family apartment building
in Franklin County, Ohio. The structure is comprised of a light tan colored siding and brown
brick with white trim, brown shingled roof, and a red front door. The dark colored numerals
"1514" are displayed above the front door. This multi-family apartment building sits on the east
side of Worthington Row Drive with the front door facing southeast.
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                                        ATTACHMENT B

                                       TTFMS TO BE SEIZED




All items found at the locations described in Attachment A that relate to violations of 21 U.S.C.

§ 846 including:



       1. Controlled substances, materials that drugs were shipped in and/or usedto package for sale,

           drug paraphernalia used to administer or ingest controlled substances, andequipment related

           to the sale, manufacture, processing and storage of controlled substances, including but not

           limitedto all cookingequipment,chemicals, packaging materials, scales,presses, adulterants,

           diluents, strainers, measuring spoons, scales, grinders, etc.;



       2. Log books, records, payment receipts, notes, and/or customer lists, ledgers and other papers

           relating to the transportation, ordering, purchasing, processing, storage and distribution of

           controlled substances, including all records of income and expenses, for the past five years;



        ). Papers, tickets, notices, credit card receipts, travel schedules, travel receipts, passports, and

           other items relating to travel to obtain and distribute narcotics and narcotics proceeds for the

           past five years. Evidence of such travel is often times maintained by narcoticstraffickers in

           the form ofairline receipts, bus tickets, automobile rental receipts, credit card receipts, travel

           schedules, diaries, hotel receipts, logs, travel agency vouchers, notes, cellular telephone tolls

           and records of long distance telephone calls;




       4. Books, records, invoices, receipts, records of real estate transactions, auto titles, financial
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   statements, bank statements, cancelled checks, deposit tickets, passbooks, money drafts,

   withdrawal slips, certificates of deposit, letters of credit, loan and mortgage records, money

   orders, bank drafts, cashier's cheeks, bank checks, safe deposit box keys, money wrappers,

   wire transfer applications and/or receipts, fictitious identification, andother items evidencing

   the obtaining, secreting, transfer, concealment, and/or expenditure of money. These records

   should include both records of drug trafficking, manufacturing of fraudulent identification

   documents, and legitimate business operations for the past five years;



5. Electronic equipment, suchas telephone answering machines, telephone calleridentification

   boxes, video and audiocassette tapes, pagers (digital display beepers), and any stored

   electronic communications contained therein;




6. Cellular telephone(s) and/or portable cellular telephone(s) and any stored electronic

   communications contained therein;




7. United States currency, precious metals, jewelry, gold coins, and financial instruments,

   including, but not limited to, stocks and bonds;



8. Photographs of co-conspirators, assets and/or narcotics, including still photos, negatives,

   video-tapes, films, slides, undeveloped film and the contents therein;



9. Address and/or telephonebooks, rolodex indices,and anypapersreflecting names,addresses,

   telephone numbers, pager numbers, and fax numbers of co-conspirators, sources of supply,

    storage facilities, customers, financial institutions, and other individuals or businesses with
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   whom a financial relationship exists;



10. Indicia of occupancy, residency, rental and/or ownership of the premises described above or

   vehicles located thereon, including, but not limited to, utility and telephone bills, cancelled

   envelopes, keys, deeds, purchase lease agreements, land contracts, titles and vehicle

   registrations;




11. The opening, search and removal, if necessaiy, of any safe or locked receptacle or

   compartment, as some or all of the propeify heretofore may be maintained;



12. Any and all computers and information and/or data stored in the form of magnetic or

   electronic coding on computer media, on media capable ofbeing read by a computer, or other

   reeorded media. This ineludes but it is not limited to eomputer software, software manuals,

   tapes, CD's, diskettes, stored electronic communications, taped messages, electronic

   date/memo minders, address books, word processors, passwords, backup storage deviees,

   audio tape and the contents therein, containing the related information generated by the

   aforementioned eleetronic equipment;




13. Fireaims and ammunition, including but not limited to handguns, pistols, revolvers, rifles,

   shotguns, machine guns and other weapons and any record or receipt pertaining to firearms

   and ammunition;




14. Any other items which constitute evidence of a violation of 21 U.S.C. § 846 (conspiracy to

   distribute and possess with intent to distribute a controlled substance).
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Evidence Logfor Case TFR 020-15

Agency:                        Ohio BCI
Prepared by:                   S/A Joshua Durst
Date of report:                Sep 24, 2019 11:27 AM

Case #:                        TFR 020-15
Case opened:                   Sep 23, 2019 2:02 PM
Offense(s):                    Drug/Narcotics: Violations
Victim(s):                     None
Witness(es):                   None
Suspect(s):                    None




Scene #: 8 of 8
Address: 1514 Worthington Row Drive, Columbus, OH, United States

                  containing: Description: Multiple baggies of            Kitchen          Troy Gibson         Sep 24,
                  unknown substance under oven;                                                                2019 10:54
                                                                                                               AM

                  containing: Description: Multiple baggies of            Kitchen          Troy Gibson         Sep 24,
                  unknown substance inside oven;                                                               2019 10:54
                                                                                                               AM
                  containing: Description: Paperwork and enveiopes        Kitchen          Troy Gibson         Sep 24,
                  from kitchen counter;                                                                        2019 10:54
                                                                                                               AM

                  containing: Description: Muitiple bags of unknown       Hallway closet   Rich Gourley        Sep 24,
                  substance;                                              second floor                         2019 10:54
                                                                                                               AM




                                   Released By                        Released To                Date/time
                                   SEARCH TEAM                                                   Sep 24,2019 11:27 AM
